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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

____________________________________
                                        )
General Tools & Instruments, LLC        )
                                        )              Case No. 1:19-cv-02519
              v.                        )
                                        )              Judge: Honorable Robert W. Gettleman
Does 1-2092, As Identified in Exhibit 2 )
                                        )              Magistrate: Honorable Sunil R. Harjani
                                        )
____________________________________)

                                         VOLUNTARY DISMISSAL

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned counsel for

Plaintiff, General Tools & Instruments, LLC, hereby notifies this Court that the Plaintiff voluntarily dismisses

with prejudice any and all claims against the following defendants:


 Doe #     Seller Name                     Seller ID                      Def. E-mail

      1    4seasons                        4seasons                       info@4seasons-trading.com

      5    autobosen                       autobosen                      jack@autobosen.com

     52    Love land_                                            633113   sumaitong13@outlook.com

     64    Justforwholesale Store                               1018677   elaine100799@163.com

    121    Dan Chen Zi                                          1826167   nanya4802@163.com

    126    Magic Mush Room                                      1863133   chenying18744@163.com

    130    ^_^Best Selling Store^_^                             1904853   wunaile0219@126.com

    596    Leejun                          A7H74G4XRM9HZ                  lee8541jun2234@163.com

    650    allstar-seller                  allstar-seller                 cjmw2008@gmail.com

    692    buybao365                       buybao365                      c2cbay@163.com

    702    chgogobuy                       chgogobuy                      chenying18744@163.com

    706    cjcmall                         cjcmall                        cjcmall789@gmail.com

    733    dohairx                         dohairx                        ddsalor@gmail.com

    808    greatlength                     greatlength                    googoo2088@gmail.com

    810    guodhshop                       guodhshop                      guodh1987@163.com

    889    kkmall666                       kkmall666                      kkmall20170106@hotmail.com
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Doe #   Seller Name                    Seller ID                  Def. E-mail

1064    th-trade                       th-trade                   zhuweiwen92@163.com

1146    zhaoyang5682                   zhaoyang5682               liukun7891@126.com

1173    xiamenhexinfashioncoltd        53c160e84497c52f04c88615   leioxu@outlook.com

1236    shenzhenmoscatechnologycoltd   550053d9a0086e018de55559   spitzer525@hotmail.com

1373    ddup                           56d5a586eaa7112e000f40e8   leiowish@outlook.com

1374    fahionup                       56d807889df73616962f1849   leiofashion@outlook.com

1384    fanhouliang                    56f942aaf5a3ff589f71c422   hy123456aa@outlook.com

1397    shopinginchina                 571379c2853cde592cd9628d   hallogeek@outlook.com

1403    jasonhhuu163com                571da1690f343a58fc672209   jasonhhuu@163.com

1405    hallocute                      572815761c36f75926f61dba   qianxi1128@sohu.com

1406    heliangxin                     572965d6f35bbb73ecfb203a   heliangxin@outlook.com

1413    znclothing                     573c2c923877a4596805014a   znwish@outlook.com

1414    joymode                        573c3806be2e68592489fa02   clwish@outlook.com

1415    bossclothing                   573c5029602a49597456eaed   jqwish@outlook.com

1416    loverdream                     573c568a3a698c7cf2b28b1d   hmywish@outlook.com

1417    hldream                        573d215bc170251d97346e68   hlwish@outlook.com

1419    wxfashion                      573eb7b37a381f5aa39fafa7   wxfashion@tom.com

1422    yfdream                        574562e4577c74774b13ec14   ydream123@outlook.com

1427    bxfashion                      574d3738d503c05c9590e08b   bxwish@outlook.com

1476    ffempress                      57b5529e0521854c5dfdcb03   ffempress001@outlook.com

1481    slclothing                     57bbf7ca86cf12694fcedfff   flyywish@outlook.com

1489    gbshop                         57c6994b0ec9b46da3af2e4e   gbshop125@outlook.com

1490    jjbook                         57ca2bac787ffe3bc58b49a3   jjbook001@outlook.com

1492    xjworld                        57cfdd94d4875f3c3a7a6c09   gxjwish@outlook.com

1503    baobaolove                     57eb84e4cfd0b237c84c4a50   3387254659@qq.com

1505    diaodou                        57fb446da58a5a1944464c35   diaodou01@163.com

1511    shoesplaza                     58116257a7a843196b401173   shoesplaza151@outlook.com

1553    chinafootwear                  5847bda468eb8473f1317d2a   zliwish@outlook.com

1560    summerbody                     584b5dfe2c9bcc4c96fe5e5c   hxwish@outlook.com

1584    jewelrycity                    586365224b60fe2b6632cb7e   gyfwish@outlook.com

1587    top1jewelry                    5864cf599236976b08a0d04a   lyywish@outlook.com
                                                   2
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Doe #   Seller Name                 Seller ID                  Def. E-mail

1601    lavitaebella                588056c92511f84ca67f7292   lisuwish@outlook.com

1615    guaimomotou                 58a2daabb80ba86e2d8fc108   lpwish@outlook.com

1619    glamoration                 58a6bf15240b2f573ddece59   hxxznwish@outlook.com

1622    cuijingcang                 58a86141ee60e06f4befc7cc   m17077513124@163.com

1626    568971                      58a9d77c0f4dcf6f16c7f08e   m17087358831@163.com

1628    huangcancan                 58aaeb2aa5ee2b50e003b7df   meifangwish@outlook.com

1632    raojiaming                  58ad5148e5177c50695bbe64   m17077511295@163.com

1637    zxc1578                     58b2ed4a96f1bb13fd845168   17077513378@163.com

1638    yueyuessstore               58b3d0244bd8b250412897da   m17077516105@163.com

1639    cuimeng                     58b4074e6aa4aa50e3b7cdf7   s18715013860@outlook.com

1654    xinbazaar                   58c001de6f009c3db7d400df   xinbazaar8012@outlook.com

1660    hezhougongji                58c25f81e2de03506e2e1f9e   luoweiwish@outlook.com

1663    liyangsh                    58c3f4243713b12f45d8eaaa   yoon0121@outlook.com

1666    zhaojing017                 58c4e1eaffcbce51088613de   zuola18033978892@163.com

1669    liuyuxia                    58c774cd5850e150f3147e46   m17087322889@163.com

1694    guxin                       58d627497366575350b0fda5   wzz0123@outlook.com

1695    guiqq                       58d640c9367e760ec9b93e5b   m15241421203@163.com

1696    wangjiemeng                 58d665e262982052bca8f07f   hmfdgdg8877@outlook.com

1697    zouyandedian                58d73b6177992952c5ddce98   hexin1313@outlook.com

1732    jilijie                     58ee066b7547cd0fb1bc1caa   m15174004972@163.com

1784    happylands                  59142527fc9cce47200a08b0   huity20321@126.com

1803    starsport                   59278d43e6fbf05903869f81   ansenjianlu@163.com

1854    yuanlin102                  5960c15bd44a9b3640a7c288   dc285131@163.com

1874    zwwsj                       59732c01e771747a4ac27cd0   goofloucok00138@outlook.com

1879    jellybeancollectiblesllc    5979e77f8ee78d51003783a4   wwwpps101510@outlook.com

1884    duansaisai                  597fe3453eb22a7c5640dad9   hexin2018su@outlook.com

1886    palmtouch                   5980805eeea5c53db7442830   lp18779812179@163.com

1890    2532                        59872ee490a0f177e68822ef   hlz20180122@outlook.com

1892    lym520                      598ac64e439a9874a7e3668b   h3330209982@163.com

1926    raboeard                    59dc2d66448a521706c65244   raboeard@163.com

1960    pangjingnan                 5a1a467e48e6b25856dccdf3   hxwishtwozsl@163.com
                                                3
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  Doe #   Seller Name                Seller ID                  Def. E-mail

  1961    youlanmei                  5a1bdaed0ec30f3693b53420   yuyanyuy@outlook.com

  1962    shashanong                 5a1c2a289aee09394af7086d   shashadangdang@outlook.com

  1967    lansufen                   5a1fd7677ce75c01d732d926   lansuwish2017@outlook.com

  1979    softsnow                   5a4ceb7b2023101867046169   fenru123@sina.com

  1984    xinghuaastore              5a605fa27f9ae5150bbd43c6   bladipu@tom.com

  1985    yingziladiesshoes          5a609891ef626b2fcd1148b6   feuchai@outlook.com

  1988    hexiaofengg                5a65a5daddda8c060f7b49f8   hexinwish1688@outlook.com

  1992    romanticfullinhome         5a6971fddb0e426f4ff02b6b   muuma1@tom.com

  1993    asd5adsxc012               5a6c18035349201cb31f8e30   cloudlolo123@outlook.com

  1994    as23d454bv0121             5a7184751b98df477668ec0b   xiufeng415@outlook.com

  1995    fanting258                 5a752bb4abef95645901c88a   jingyuxu23@outlook.com

  1996    muhongwen                  5a75701eddf45b5f5277bc64   fourmeng@outlook.com

  1997    pengjingpengdexiaopu       5a765db3db5f1f0f2eac7d98   menglee111@outlook.com

  1999    liulingai                  5a7d818c856edf04c5ca3986   relifelin@outlook.com

  2024    xinyanhui                  5acacc92ccf0c865af264da2   waaalin@outlook.com

  2060    yanganpingshiwo            5affb041cfb44a6021488c7e   skyzhzh@outlook.com

  2065    fightifhethinksheright     5b15f3d9686a131977b7de78   ddddhhz@outlook.com

  2067    mineraiwuji                5b1c94a4d1c360517d1e57a2   bu2sdx@outlook.com

  2068    liuyanghes                 5b1f5d3e2b04103638e72e5f   munisooo@outlook.com

  2071    yuyingyingyu               5b23742943b3b60279a67fcb   mmmmgu@outlook.com

  2072    hlhddp                     5b2486c02b04103ed6ab9054   likeavaa@outlook.com

  2073    haifengnong                5b24ae747752c86b36afa2f0   zuanssssh@outlook.com

  2074    wyddpco                    5b24b515d1c3601b7899e9a3   rrrrrdian@outlook.com

  2077    chengmeiai                 5b2de5cd2b041048f716847c   yyyyfaz@outlook.com

  2079    meiyashi90                 5b2e40fc6119343744962425   ccccchhgk@outlook.com

Dated: September 9, 2019
                                                                 Respectfully submitted,

                                                                     By:      /s/ Rishi Nair

                                                                             Rishi Nair
                                                                       ARDC # 6305871
                                                                        Kevin J. Keener
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                                                             ARDC #6296898
                                                   Keener & Associates, P.C.
                                              161 N. Clark Street, Suite #1600
                                                            Chicago, IL 60601
                                                               (312) 375-1573
                                                  rishi.nair@keenerlegal.com
                                                   kevin.keener@keenerlegal.




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